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                                    In the
                United States Court of Appeals
                         For the Eleventh Circuit
                           ____________________

                                 No. 22-11707
                           ____________________

       PAUL A. EKNES-TUCKER,
       Rev.,
       BRIANNA BOE,
       individually and on behalf of her minor son, Michael Boe,
       JAMES ZOE,
       individually and on behalf of his minor son, Zachary Zoe,
       MEGAN POE,
       individually and on behalf of her minor daughter, Allison Poe,
       KATHY NOE, et al.,
       individually and on behalf of her minor son, Christopher Noe,
                                                      Plaintiﬀs-Appellees,
       versus
       GOVERNOR, OF THE STATE OF ALABAMA,
       ATTORNEY GENERAL, STATE OF ALABAMA,
       DISTRICT ATTORNEY, FOR MONTGOMERY COUNTY,
       DISTRICT ATTORNEY, FOR CULLMAN COUNTY,
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       2                      Order of the Court                 22-11707

       DISTRICT ATTORNEY, FOR LEE COUNTY, et al.,


                                                   Defendants-Appellants.


                           ____________________

                 Appeal from the United States District Court
                     for the Middle District of Alabama
                  D.C. Docket No. 2:22-cv-00184-LCB-SRW
                          ____________________

       ORDER:
              The motions for leave to file an amicus brief in support of
       Appellees’ petition for rehearing filed by Family Law and Constitu-
       tional Law Scholars, Lambda Legal Defense and Education Fund,
       Inc., Campaign for Southern Equality, Equality Florida, Family
       Equality, National Center for Transgender Equality, Southern Le-
       gal Counsel, Transgender Law Center, Transgender Legal Defense
       and Education Fund, Inc., Unitarian Universalist Association,
       Southeast Conference of the United Church of Christ, Universal
       Fellowship of Metropolitan Community Churches, and Global Jus-
       tice Institute are DENIED as moot.

                                                  DAVID J. SMITH
                                 Clerk of the United States Court of
                                   Appeals for the Eleventh Circuit
                       ENTERED FOR THE COURT - BY DIRECTION
